  Case 15-40764      Doc 36   Filed 04/20/18 Entered 04/23/18 08:52:53                 Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                       )               BK No.:      15-40764
                                             )
                                             )               Chapter: 13
CATHERINE M. DOUGLAS                         )
                                                             Honorable Janet S. Baer
                                             )
                                             )               Kane
              Debtor(s)                      )

                            ORDER MODIFYING CHAPTER 13 PLAN

       This cause coming before the Court on the Debtor's Motion to Modify Chapter 13 Plan; the
Court being fully advised in the premises and having jurisdiction of the subject matter, IT IS HEREBY
ORDERED:

  1. The Debtor's Motion to Modify Chapter 13 Plan is granted.

  2. The Debtor's default in payments to the trustee will be deferred to the end of the plan term.

  3. The Debtor's plan base will be $130,914.00.

  4. Commencing with the April 2017 payment to the trustee, the Debtor shall make monthly
payments to the trustee in the amount of $2,147.00 per month for the remaining plan term.




                                                          Enter:


                                                                   Honorable Janet S. Baer
Dated: April 20, 2018                                              United States Bankruptcy Judge

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